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                             IN THE UNITED STATES DISTICT COURT
                                FOR THE DISTRICT OF DELAWARE



    In re                                     Chapter 11

    ZOHAR III, CORP., et al.,                 Bankruptcy Case No. 18-10512 (KBO)

                    Debtors. 1                (Jointly Administered)



    PATRIARCH STAKEHOLDERS, 2

                         Appellants,          Civil Action No. 22-mc-00119 (TLA)

                        v.

    ZOHAR III, CORP., et al.,

                        Appellees.



                                JOINT SUBMISSION REGARDING
                             PROPOSED MERITS BRIEFING SCHEDULE

            Pursuant to this Court’s Oral Order of June 30, 2022 [D.I. 10], the Patriarch Stakeholders

(“Appellants”) and Debtor Zohar III, Corp., and its affiliated debtors in possession in the above-

captioned cases (“Appellees”), hereby jointly submit their proposed merits briefing schedule.




1
       The Debtors, and, where applicable, the last four digits of their taxpayer identification
number are as follows: Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-
1, Corp. (3724), Zohar III, Limited (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-
1, Limited (5119). The Debtors’ address is 1166 Avenue of the Americas, 15th Floor, New York,
NY 10036.
2
       “Patriarch Stakeholders” has the meaning defined in the parties’ Settlement Agreement,
D.I. 266-1, as well as any other Lynn Tilton affiliates.
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Subject to the approval of the Court, the parties propose that the merits briefing in this appeal shall

proceed as follows:

       1.      Appellants’ opening brief shall be due on August 12, 2022;

       2.      Appellees’ answering brief shall be due on September 16, 2022; and

       3.      Appellants’ reply brief shall be due on September 30, 2022.



Dated: July 6, 2022

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 Counsel to Appellants




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    IT IS SO ORDERED this    day of               , 2022.




                                            Honorable Thomas L. Ambro




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